Case 3:20-mj-00031-RCY Document1 Filed 02/27/20 Page 1 of 5 PagelD# 1

AO 91 (Rev. 11/11) Criminal Complaint

 

 

 

 

 

 

 

 

 

 

 

 

 

 

UNITED STATES DISTRICT COURT =
for the
Eastern District of Virginia FEB 27
United States of America ) ICUS DISTRICT COURT
v. ) "RICHMOND, VACO
ANTHONY RAMOND BUSTER y Gael.
) ’
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 22, 2019 in the county of City of Richmond in the
Eastern District of Virginia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C, 922(g)(1) Felon in Possession of a Firearm

This criminal complaint is based on these facts:

 

 

See Attached Affidavit.
™ Continued on the attached sheet. ()
Reviewed by AUSA/SAUSA: V nS al
Heather Hart Mansfield RahmetJ. Logan, Task Forté Officer, FBI

 

 

 

 

Printed name and title

Sworn to before me and signed in my presence.

Date: _February 27, 2020 Tey

Judge 's signatufe {/
City and state: Richmond, Virginia Roderick C. Young, United States Magistrate Judge

Printed name and title

 
Case 3:20-mj-00031-RCY Document1 Filed 02/27/20 Page 2 of 5 PagelD# 2

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

 

I, Rahmel J. Logan, Detective with the Henrico County Police Department (HCPD) and Task Force
Officer (TFO) with the Federal Bureau of Investigation (FBI), Richmond Division, United States

Department of Justice, being duly sworn, do depose and state as follows:

1. I have been deputized as a Special Deputy United States Marshal and have been assigned as TFO
with the FBI since 2012. I am an investigative or law enforcement officer within the meaning of
Section 2510(7) of Title 18, United States Code, and empowered by law to conduct investigations of
and make arrests for offenses enumerated in 18 U.S.C. § 2516. I was hired by the Richmond Police
Department (RPD) in May of 1997, and served as a Uniformed Officer and as a Narcotics Detective
until January of 2006. While employed with RPD, I preformed various assignments, to include
various levels of drug enforcement and undercover operations. Since January of 2006, I have been
employed with the HCPD and have served as a Uniformed Officer and Detective. In 2009, I was
assigned to the Organized Crime Section, which is tasked with investigating various forms of
criminal organizations, to include those involved in the selling and/or distribution of narcotics. In
2015, I was transferred to the HCPD’s CASE Unit, assigned to the GIT. Additionally, lam a TFO
assigned to the FB] Richmond Area Violent Enterprises (RAVE) Task Force. Over the course of my
law enforcement career, I have gained knowledge in the use of various investigative techniques
including the utilization of physical surveillance, undercover agents, Title III wiretaps, confidential
informants and cooperating witnesses, the controlled purchases of illegal narcotics/controlled
substances, electronic surveillance, consensually monitored recordings, investigative interviews,
mail covers, trash searches, financial investigations, the service of administrative and grand jury
Subpoenas, and the execution of search and arrest warrants.

2. Ihave attended classes and/or courses conducted by the FBI, RPD, HCPD and other training
organizations pertaining to the conduct of persons and/or groups who are involved in various

criminal activities to include drug trafficking. Over the course of my career I have had the

1
Case 3:20-mj-00031-RCY Document1 Filed 02/27/20 Page 3 of 5 PagelD# 3

opportunity to serve various roles in the investigation of subjects involved in narcotic related
activity. Some of these investigations have resulted in the arrest, and the recovery of illegal
narcotics and other items that could be consider paraphernalia and/or fruits of the criminal activity. I
have also served a variety of roles, in searches of residences related to subjects involved in various
levels of drug activity for evidence of criminal activity. The result of some of these investigations
has led to your affiant testifying in courts in Richmond, Henrico and the United States District Court
of the Eastern District of Virginia (EDVA). As a result of my training and experience, I am familiar
with how various controlled substances are used, and the typical distribution and/or trafficking
patterns utilized by drug dealers and/or traffickers.

Probable Cause

. On September 22, 2019, RPD officers responded to 2136 Creighton Road, Richmond, VA, 23223, in
reference to an assault and possible shooting. As officers arrived on scene, Officer Wilson observed
a black male wearing a black shirt with colors and dark pants walking away from the area. Officer
Wilson informed assisting officers to keep an eye on the subject, as he tried to obtain additional
information from the victim (hereinafter “V1”). Officer Tyree-Williams and Officer Wilson
contacted V1 and another individual (hereinafter “W1”) at the residence. Officer Wilson
immediately inquired into the description of the subject. WI and V1 did not provide a name, but W1
provided a brief clothing description for the subject, which she identified as a black shirt.

. Officer Wilson exited the residence, where he observed the subject, later identified as ANTHONY
RAMOND BUSTER, a significant distance from his location. From his position, Officer Wilson
observed ANTHONY BUSTER in possession of a black bag. As Officer Wilson moved toward
ANTHONY BUSTER, he observed him place the black bag down on the ground and remove his
black shirt, which exposed a white tank top. Officer Wilson tried to notify assigning officers, but the
communication by Officer Wilson alerted ANTHONY BUSTER, which prompted BUSTER to flee.
Officers relayed BUSTER’s actions to other assisting RPD officers who quickly established a

perimeter in the area.
Case 3:20-mj-00031-RCY Document1 Filed 02/27/20 Page 4 of 5 PagelD# 4

5. While RPD officers were attempting to locate ANTHONY BUSTER, Officer Tyree- Williams
conducted her interview of V1 and W1. V1 advised she had gotten into an argument with her
boyfriend of three years, who police were able to later identify as ANTHONY BUSTER. V1 wanted
her boyfriend to leave the residence, but the situation escalated. According to V1, ANTHONY
BUSTER shoved a baby, prior to punching her in the face. After the incident, ANTHONY BUSTER
left the residence, but once outside V1 heard a pop, which sounded like a gunshot. She was unable to
attribute the pop to ANTHONY BUSTER, nor could she advise if he had a firearm. During the
officer's interaction with V1, she became uncooperative, refusing to provide ANTHONY BUSTER's
name or any identifying information for BUSTER, nor was she interested in pressing charges for
assault. At the conclusion of the interview, Officer Tyree- Williams assisted in the search for
ANTHONY BUSTER.

6. While searching the area, RPD officers observed a male wearing a white tank top and a black fanny
pack. Officers Tyree-Williams and Wilson responded to the area of the subject. They tried to
conduct a consensual encounter on the subject (ANTHONY BUSTER). As their vehicle approached
ANTHONY BUSTER, he began to walk across the street. Officer Wilson exited his vehicle and
asked to speak with ANTHONY BUSTER, who took off running. After a short foot pursuit,
ANTHONY BUSTER fell to the ground, where he was apprehended by RPD officers. As they were
attempting to secure him, ANTHONY BUSTER referenced a fanny pack that was located around his
body. Officers removed the fanny pack from BUSTER’s person by cutting the strap. Officer Tyree-
Williams quickly took possession of the fanny pack and determined it was hard to the touch, the
fanny pack was opened where a Ruger P95 9mm (serial number 3183373), along with 150 rounds of
ammunition was located.

7. Prior to September 22, 2019, ANTHONY BUSTER was convicted in the City of Richmond on
multiple felonies to include the following:

e 05/10/2007 — Possession of Cocaine with the Intent to Distribute
e 12/07/2007 — Possession of Firearm while in Possession of Cocaine

e 12/07/2007 — Possession of a Firearm by a Felon
3
Case 3:20-mj-00031-RCY Document1 Filed 02/27/20 Page 5 of 5 PagelD# 5

e 12/07/2007 — Possession of Cocaine
e 10/20/2011 - Larceny from a Person (Felony)

8. A review of the Trial and Sentencing Order from the Circuit Court of the City of Richmond in
case CRO7-F-6239 reflects that on December 7, 2007, the defendant was present and pled guilty
to Possession of a Firearm by a Felon, among other charges. He was sentenced to two years’
imprisonment for that conviction.

9. The Ruger 9mm firearm recovered from the defendant was not manufactured in Virginia and
therefore, traveled in interstate commerce prior to September 22, 2019.

10. Based on the foregoing, your affiant states that there is probable cause to believe that on

September 22, 2019, the defendant, ANTHONY RAMON BUSTER, was in Possession of a

Firearm as a Convicted Felon, in oto le |
hmely Fr.
Rahmel. Logan
Task Force Officer fe

Federal Bureau of Investigation

  

 

 

Sworn to before me and subscribed in my presence the 27th day of February, 2020.

Is/
Roderick C. Young
United States Magistraté Yadge
